              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :
                          :
             Plaintiff,   :
                          :                  CIVIL ACTION
         v.               :                  NO. 19-CV-1435
                          :
                          :
MILLER’S ORGANIC FARM and :
AMOS MILLER               :
                          :
             Defendants   :

           PRAECIPE FOR WITHDRAWAL OF APPEARANCE

      Kindly withdraw my appearance as counsel for defendants pursuant to Local

Civil Rule 5.1(c). Defendants are currently represented by other counsel of record.

                                             Respectfully Submitted,

                                             COHEN SEGLIAS PALLAS
                                             GREENHALL & FURMAN P.C.

                                             [s] Christopher Carusone
Date: September 9, 2021                      __________________________
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                         CERTIFICATE OF SERVICE

      I certify that today, September 9, 2021, I served the attached Praecipe For

Withdrawal Of Appearance upon the defendants, United States Attorneys’ Office,

and all co-counsel for defendants addressed as follows:

                    Amos Miller & Miller’s Organic Farm
                           Via Fax: (717) 661-7572
     Via Overnight Mail: 648 Mill Creek School Rd, Bird in Hand. PA 17505

                                  Gerald Sullivan
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                             Elizabeth Gamsky Rich
                            Co-Counsel For Defendants
                               erich@rich-law.com


                                             Respectfully Submitted,

                                             COHEN SEGLIAS PALLAS
                                             GREENHALL & FURMAN P.C.

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